    Case 1:23-cv-10998-RGS    Document 136    Filed 02/14/25   Page 1 of 15




                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

                    CIVIL ACTION NO. 23-10998-RGS

                         CHARLES THERRIEN,
         Individually and on behalf of all others similarly situated

                                      v.

                       HEARST TELEVISION, INC.

   MEMORANDUM AND ORDER ON MOTION TO CERTIFY CLASS,
   MOTION TO STRIKE THE REPORT AND TESTIMONY OF NARSEO
  VALLINA-RODRIGUEZ, AND MOTION TO STRIKE THE REPORT OF
                      JASON POLAKIS

                             February 14, 2025

STEARNS, D.J.

      In this putative class action, plaintiff Charles Therrien claims that

defendant Hearst Television, Inc. (HTV or Hearst), unlawfully disclosed his

personally identifiable information – including a record of every video he

had viewed on Hearst’s Apps – to two third parties, Braze and Google, in

violation of the Video Privacy Protection Act, 18 U.S.C. § 2710 (VPPA).

Before the court are three motions: Therrien’s motion for class certification,

Dkt. # 83, Hearst’s motion to strike the expert report and testimony of Dr.

Vallina-Rodriguez, Dkt. # 95, and Hearst’s motion to strike the allegedly

untimely expert report of Dr. Polakis, Dkt. # 100. For the following reasons,

the court will deny Therrien’s motion for class certification and Hearst’s
    Case 1:23-cv-10998-RGS     Document 136    Filed 02/14/25   Page 2 of 15




motion to strike the expert report and testimony of Dr. Vallina-Rodriguez.

The court will allow Hearst’s motion to strike the expert report of Dr. Polakis.

                              BACKGROUND

      HTV broadcasts local news and weather programming in 28 local

markets and offers station-specific mobile phone Apps for Android and iOS.1

These Apps provide live news, weather feeds, and articles that may contain

no video content, a single video, or multiple videos. When subscribers install

the Apps, they are given the option to be placed on an email list for updates

related to the Apps and access to permission location services. If users grant

HTV permission to use their location or email address, or share their AAIDs

(Mobile Advertising IDs) for advertising,2 HTV is also permitted to gather

their geolocation, email addresses, and AAIDs.

      To send push and email updates about breaking news and weather,

HTV uses a software-as-a-service provider called Braze. When an App is first




      1 The Apps include KETV NewsWatch 7, KMBC 9 News, KCCI 8, WISN

12, WLKY, WLWT News 5, WXII 12, WTAE Pittsburgh’s Action News 4,
WGAL News 8, MyNBC 5, WMUR News 9, WMTW News 8, WCVB
NewsCenter 5, WBAL-TV 11, WYFF News 4, WJCL, WESH 2, WPBF 25,
NBC2, WVTM 13 Birmingham News, WDSU 6, 16 WAPT, 40/29 News and
Weather, KOCO 5, KOAT Action 7, KSBW Action News 8, KCRA 3, and ABC
7 News.

      2 An App User’s AAID is a unique and random string of numbers

associated with an individual device for purposes of targeted advertising.
                                      2
    Case 1:23-cv-10998-RGS     Document 136   Filed 02/14/25   Page 3 of 15




installed on a phone, a profile is created and assigned a Braze ID, which is

composed of a string of letters and numbers. If a user permits HTV to use

geolocation data “always” or when using the App, the geolocation data is sent

to Braze when the App is “foregrounded” – that is, when the App is open and

in focus or actively being displayed on a phone’s screen. When a user opens

an article, a unique content ID associated with the article is sent to Braze.

And when a user plays a video from an article, additional data indicating that

a video was played and an updated “video counter” showing the total number

of videos watched in a user’s profile are relayed to Braze. Each time an App

is foregrounded counts as a new session. The geolocation data, content ID,

and video counter, if relevant, are associated with the user’s Braze ID, and

where supplied, the user’s email address. Users may enable or disable

sharing geolocation data or AAID at any time – HTV does not have a record

of when they do so.

      HTV uses Google Ad Manager (GAM) to push out advertisements

based on App users’ AAIDs. When certain ads are shown, an App user’s

AAID, geolocation data – if the user enabled geolocation services – and

article ID are allegedly sent to Google.




                                       3
        Case 1:23-cv-10998-RGS   Document 136   Filed 02/14/25   Page 4 of 15




   I.      Expert Report and Testimony

         A. Motion to Strike the Report and Testimony of Dr. Vallina-
            Rodriguez

         Before addressing the merits of Therrien’s motion for class

certification, the court will first consider Hearst’s motion to strike the expert

report and testimony of Dr. Narseo Vallina-Rodriguez for all purposes

pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993).      See Dkt. # 105 at 4. Hearst argues that Dr. Vallina-Rodriguez’s

report and testimony should be stricken as it is based on an unreliable

methodology. See Dkt. # 96 at 6.

         Two gateposts frame the exercise of a judge’s discretion to admit or

exclude expert testimony. First, the proffered witness must be shown to be

sufficiently qualified by “knowledge, skill, experience, training, or

education.” Fed. R. Evid. 702. Second, the Federal Rules of Evidence require

that the judge “ensure that any and all scientific testimony or evidence

admitted is not only relevant, but [also] reliable” (and helpful to the finder of

fact). Daubert, 509 U.S. at 589. “[T]he trial judge must determine at the

outset, pursuant to Rule 104(a), whether the expert is proposing to testify to

(1) scientific knowledge that (2) will assist the trier of fact to understand or

determine a fact in issue.” Id. at 592. “This entails a preliminary assessment

of whether the reasoning or methodology underlying the testimony is

                                        4
       Case 1:23-cv-10998-RGS   Document 136   Filed 02/14/25   Page 5 of 15




scientifically valid and of whether that reasoning or methodology properly

can be applied to the facts in issue.” Id. at 592-593. Some of the factors

relevant to determining whether a methodology is valid are: (1) whether a

theory or technique can be (and has been) tested; (2) whether the theory or

technique has been subjected to peer review and publication; (3) the known

or potential rate of error; and (4) whether there is widespread acceptance of

the theory or technique in the relevant scientific community. See id. at 593-

594.

        Dr. Vallina-Rodriguez has considerable experience in the fields of

mobile platforms and application analysis, computer network analysis and

measurement, and mobile privacy and security risks. See Dkt. # 97-10, ¶ 37.

His 15-year career in these fields – which includes his work at the

International Computer Science Institute at University of California,

Berkeley, analyzing mobile applications’ privacy and security practices, and

his work at AppCensus Inc., analyzing Android users’ geolocation data and

unique identifiers – along with his education – which includes a M.Sc. in

Telecommunications Engineering from the University of Ovideo and a PhD

in Computer Science from the University of Cambridge – make him more

than sufficiently qualified by experience and education. See id. ¶¶ 7-26.




                                       5
    Case 1:23-cv-10998-RGS     Document 136    Filed 02/14/25   Page 6 of 15




      In forming his opinion that the disclosure of App users’ email

addresses, geolocation, and AAIDs was reasonably and foreseeably likely to

reveal their identities to Braze and Google, Dr. Vallina-Rodriguez relied on a

systematic literature survey of various peer-reviewed empirical studies that

include data aggregations similar to those in this case, e.g., timestamped

geolocation data points collected by GPS sensors on cell phones. See Vallina-

Rodriguez Expert Report (Dkt. # 97, Ex. J) ¶¶ 3, 46. The idea that individuals

are likely to be identified and de-anonymized3 by cross-referencing external

data sources against frequented locations is a conclusion accepted within the

data privacy research community.4 See id. ¶ 46; Dkt. # 105 at 17. Although,


      3 “De-anonymize” in this context means “the ability to extract users’

first and last names from geolocation information by correlating/linking
geolocation information with public and/or private information.” Vallina-
Rodriguez Expert Report (Dkt. # 97, Ex. J) ¶ 44. This includes “information
publicly [o]n the web, U.S. Census data, and online social networks along
with data offered by brokers and online identity managers.” Id.

      4 HTV contends that the peer-reviewed studies Dr. Vallina-Rodriguez

relies on do not retrieve the names of the subjects, but rather show that
disclosure of geolocation data only reveals people’s frequented locations. See
Dkt. # 96 at 14. However, many of Dr. Vallina-Rodriguez’s cited sources
report that they have the capacity to de-anonymize users based off
geolocation, although they have not explicitly identified such users in their
studies – the studies further recognize that the geolocation data may be
joined with publicly available information, such as an individual’s home
address, workplace address, or image, to identify the person by name. See
Dkt. # 97, Ex. J at 2; Dkt. #97, Ex. M at 19 (Philippe Golle and Kurt Partridge,
On the Anonymity of Home/Work Location Pairs 390-397 (2009)) (noting
“[a]pproximate home and work locations may then be joined with
                                        6
    Case 1:23-cv-10998-RGS    Document 136    Filed 02/14/25   Page 7 of 15




as HTV points out, Dr. Vallina-Rodriguez has not conducted an empirical

analysis involving Therrien personally, he was given access to only a single

datapoint, which was the last known geolocation coordinate of Therrien.

Dkt. # 105 at 7. Moreover, Dr. Vallina-Rodriguez did not analyze the 78

points of geolocation data for former named plaintiff Michele Saunders

because he was not attempting to identify her.                 See Mantha v.

QuoteWizard.com, LLC, 347 F.R.D. 376, 387 (D. Mass. 2024) (denying a

motion to strike where the expert’s methodology did not identify the plaintiff

because she was not assigned the expert task of identifying him). Hearst’s

challenges to Dr. Vallina-Rodriguez’s report and testimony, at best, go to the

weight of the evidence as opposed to its admissibility.           It is worth

remembering that:

     Daubert does not require that a party who proffers expert
     testimony carry the burden of proving to the judge that the
     expert’s assessment of the situation is correct . . . . In short,
     Daubert neither requires nor empowers trial courts to determine
     which of several competing theories has the best provenance. It
     demands only that the proponent of the evidence show that the
     expert’s conclusion has been arrived at in a scientifically sound
     and methodologically reliable fashion.



employment directories, tax records or any other public or private dataset
available to the adversary to map pairs of home and workplace locations to
identities”). The fact that one can identify someone’s name based off their
frequented locations may be too obvious or of “too limited interest to be
published.” See Daubert, 509 U.S. at 593 (holding that “some propositions .
. . are too particular, too new, or of too limited interest to be published”)
                                         7
    Case 1:23-cv-10998-RGS       Document 136   Filed 02/14/25   Page 8 of 15




Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d 77, 85 (1st

Cir. 1998), citations omitted.

      To the extent Dr. Vallina-Rodriguez’s opinions constitute legal

conclusions or are based on insufficient anecdotal evidence, they may be

subject to a proper motion in limine or appropriate objection at trial. See

Palandjian v. Foster, 446 Mass. 100, 111, 842 N.E.2d 916 (2006); United

States v. Diaz, 300 F.3d 66, 74 (1st Cir. 2002); see also Daubert, 509 U.S. at

596 (“Vigorous cross-examination, presentation of contrary evidence, and

careful instruction on the burden of proof are the traditional and appropriate

means of attacking shaky, but admissible evidence.”). On this record and at

this stage of the case, the court denies the motion to strike the report and

testimony of Dr. Vallina-Rodriguez.

      B. Expert Report of Dr. Polakis

      Hearst also moves to strike the allegedly untimely expert report of Dr.

Jason Polakis. See Dkt. # 100. Federal Rule of Civil Procedure 26(a)(2)(D)

provides that expert disclosures are to be made “at the times and in the

sequence that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). Rule 37(c)(1)

excludes witnesses not disclosed pursuant to the court’s schedule “unless the

failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1).

When considering whether to strike an untimely expert report, the court may


                                        8
     Case 1:23-cv-10998-RGS    Document 136     Filed 02/14/25   Page 9 of 15




consider various factors: (1) the history of the litigation; (2) the sanctioned

party’s need for the precluded evidence; (3) the sanctioned party’s

justification (or lack of one) for its late disclosure; (4) the opponent-party’s

ability to overcome the late disclosure’s adverse effects (e.g., the surprise and

prejudice associated with the late disclosure); and (5) the late disclosure’s

impact on the district court’s docket. See Macaulay v. Anas, 321 F.3d 45, 51

(1st Cir. 2003).

      On Friday, December 6, 2024 at 5:31 pm, plaintiffs’ counsel emailed

Hearst’s counsel an expert report from Dr. Polakis, who had not previously

been identified by the plaintiff. Butler Decl. (Dkt. # 102) ¶ 9. The scheduling

order entered by the court in this case makes clear, as recently as May 0f

2024, that plaintiff’s expert reports were due on October 18, 2024, and that

all expert discovery was to be completed by December 6, 2024. See Dkt. #

43. Therrien failed to disclose Dr. Polakis or his expert report within this

court’s discovery deadlines and offers no reason as to why he could not have

identified him earlier and provided his report in a timely manner. The court

does not accept Therrien’s lame characterization of the report as a “rebuttal”

and makes particular note of the fact that there was no effort on plaintiff’s

part to seek an amendment extending the court’s discovery schedule and its

deadlines. Of equal import is the fact that Rule 26 provides a schedule for a


                                       9
    Case 1:23-cv-10998-RGS     Document 136    Filed 02/14/25   Page 10 of 15




rebuttal report only in the absence of a scheduling order (which is not the

case here). See Fed. R. Civ. P. 26(a)(2)(D); Local Rule 26.4(a). To permit

Therrien to ambush the defendant with a previously undisclosed expert

report of a previously unidentified witness would “undermine[] the purpose

of setting deadlines for expert disclosures; those deadlines must have some

force if the courts are to be able to manage their dockets in any meaningful

way.” Crawford-Brunt v. Kruskall, 489 F. Supp. 3d 4, 9 (D. Mass. 2020);

see also Santiago-Diaz v. Laboratorio Clinico Y De Referencia Del Este and

Sara Lopez, M.D., 456 F.3d 272, 277 (1st Cir. 2006).

  II.     Class Certification

        Finally, Therrien seeks to certify a Rule 23(b)(3) class. The court may

certify the class only if Therrien has established the four “threshold

requirements” of Rule 23(a) – numerosity, commonality, typicality, and

adequacy of representation – and the two additional prerequisites of Rule

23(b)(3) – predominance and superiority. In re Nexium Antitrust Litig., 777

F.3d 9, 17 (1st Cir. 2015), quoting Comcast Corp. v. Behrend, 569 U.S. 27, 33

(2013). Predominance and superiority require the court to find that “the

questions of law or fact common to class members predominate over any

questions affecting only individual members, and that a class action is




                                       10
    Case 1:23-cv-10998-RGS     Document 136     Filed 02/14/25   Page 11 of 15




superior to other available methods for fairly and efficiently adjudicating the

controversy.” In re Nexium Antitrust Litig., 777 F.3d at 18.

      Therrien also must satisfy the implicit Rule 23 requirement that he

demonstrate, by a preponderance of the evidence, that the class is “currently

and readily ascertainable based on objective criteria.”          Id. at 19, citing

Carrera v. Bayer Corp., 727 F.3d 300, 306 (3d Cir. 2013). At the class

certification stage, the court “must be satisfied that, prior to judgment, it will

be possible to establish a mechanism for distinguishing the injured from the

uninjured class members.” In re Nexium Antitrust Litig., 777 F.3d at 19.

Such a mechanism must be “administratively feasible” and “protective of

defendants’ Seventh Amendment and due process rights.” Id.

      Therrien proposes a class defined as follows:

      All persons in the United States that (i) downloaded one of the
      Class Apps onto their mobile phone, (ii) enabled location
      permissions for the Class App for at least 250 sessions over a
      period of at least one month, and (iii) watched at least ten (10)
      videos between May 5, 2021, and April 16, 2024 (the “Class
      Period”).

Dkt. # 84 at 6; Dkt. # 104 at 25. The Class Apps refer to 28 mobile

applications for Android and iOS that HTV owns and operates. See supra

note 1. Therrien also proposes two subclasses. The Email Subclass is defined

as follows: all Class Members who provided their email address to the Class

Apps at the time of onboarding. Dkt. # 84 at 6. The AAID Subclass would

                                       11
    Case 1:23-cv-10998-RGS    Document 136   Filed 02/14/25   Page 12 of 15




include: all Class Members who (i) downloaded one of the Class Apps onto

their Android mobile devices; and (ii) did not limit ad tracking during the

time they used the Class Apps during the Class Period. Dkt. # 84 at 6.

     Even assuming (which is doubtful on its face) that both proposed

classes and subclasses satisfy the requirements of Rule 23(a), Therrien has

failed to demonstrate that the members of the proposed classes are

“currently and readily ascertainable based on objective criteria.”       In re

Nexium Antitrust Litig., 777 F.3d at 19.     Therrien relies on Dr. Vallina-

Rodriguez’s proposed method of identifying proposed class members based

on geolocation data.5 This method consists of: analyzing geolocation data

points over the class period to determine the users’ “top-2” most-frequented

locations; sending that data (assuming those “top-2” locations are the

residential and secondary addresses of users) to third-party brokers who will




     5   HTV spreadsheets, which show every account whose geolocation
and/or e-mail address was disclosed to Braze, along with the number of App
“sessions” initiated by each account and number of videos that were watched
by an App user, are insufficient for identifying proposed class members. Dkt.
# 94 at 17. They do not show who had geolocation enabled for those sessions
or whether the 10 or more videos were viewed during the class period (no
time stamp is recorded with the “video view” counter). Id at 17, 21; Rosellini
Decl. (Dkt. # 97, Ex. F) ¶¶ 18, 28. HTV also attests that it is “untrue and
unsupported by any evidence sought in discovery or otherwise” that Braze
and Google have this information. Dkt. # 94 at 21. Both parties agree that
HTV, Braze, and Google do not have the names of potential class members.

                                     12
    Case 1:23-cv-10998-RGS    Document 136   Filed 02/14/25   Page 13 of 15




use additional data sources; and validating whether the resulting names are

HTV App users through manual steps, including testimony from each

putative class member confirming that the information disclosed is theirs.

See Expert Report of Vallina-Rodriguez (Dkt. # 97, Ex. J) ¶¶ 58, 104-107;

Vallina-Rodriguez Dep. (Dkt. # 97, Ex. E) at 278:20-25, 281:2-4; Dkt. # 96

at 6-7.    Such testimony from each putative class member necessary to

validate whether the geolocation data points identify residential and

secondary addresses, and the names associated with those addresses would

be “administratively infeasible” and potentially violative of HTV’s due

process rights. In re Asacol Anitrust Litig., 907 F.3d at 52; see In re Hulu

Privacy Litig., 2014 WL 2758598, at *15 (N.D. Cal. June 17, 2014) (declining

to certify the proposed class in a VPPA case because plaintiffs offered no way

to identify individual class members other than broad notice and a self-

reporting, burdensome affidavit – cross-referencing email records would

identify a large pool of users with only a subset of the pool suffering any

injury).

      For example, according to plaintiff, 75 out of 78 geolocation points

from Braze reflected the home address of the original named plaintiff,

Saunders. Dkt. # 84 at 19; Dkt. # 77 ¶¶ 4-5. However, the address is a multi-

unit apartment building with hundreds of occupants and Vallina-Rodriguez


                                     13
    Case 1:23-cv-10998-RGS     Document 136   Filed 02/14/25   Page 14 of 15




admits he would not be able to identify Saunders’ apartment number from

the geolocation data alone. Dkt. # 94 at 18; Vallina-Rodriguez Dep. (Dkt. #

97, Ex. E) at 351:16-352:17. Without the aid of Saunders’s deposition, it

would be near impossible to distinguish Saunders based on the Braze data

from other users like her in her apartment complex to provide her with notice

of a pending class. See Kent v. SunAmerica Life Ins. Co., 190 F.R.D 271, 278

(D. Mass 2000) (to be ascertainable, the class definition must permit a court

to decide who will receive notice of a pending class). Such a process would

likely result in a “line of thousands of class members waiting their turn to

offer testimony and evidence on individual issues,” with such issues

predominating over common ones.6 In re Asacol Antitrust Litig., 907 F.3d

at 51.

         In addition, although unrebutted testimony contained in affidavits

may suffice as a mechanism for identifying who was injured and who was not

injured, see in re Nexium Antitrust Litig. 777 F. 3d at 21, testimony that is

“genuinely challenged,” such as an element of a party’s affirmative case,

cannot be used to certify a class without providing the defendant an

opportunity to litigate its defenses, In re Asacol Antitrust Litig., 907 F.3d at




         6 The geolocation data in the record associated with Therrien’s App

usage identifies a church.
                                      14
    Case 1:23-cv-10998-RGS     Document 136     Filed 02/14/25   Page 15 of 15




53. Here, the determination of whether the data shared with Braze and

Google reasonably and foreseeably is likely to identify a HTV user is also an

element of the VPPA claim – the ascertainability inquiry overlaps with the

merits. Moreover, written consent is a defense to the VPPA claim of each

member of the putative class and HTV has stated its intention to challenge

any affidavits. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 367 (2011)

(holding that a “class cannot be certified on the premise that [the defendant]

will not be entitled to litigate its statutory defenses to individual claims”) For

the above reasons, the court declines to certify the class.

                                    ORDER

      For the foregoing reasons, Hearst’s motion to strike the expert report

and testimony of Dr. Vallina-Rodriguez and Therrien’s motion for class

certification are DENIED. Hearst’s motion to strike the expert report of Dr.

Polakis is ALLOWED.

                                     SO ORDERED.

                                     /s/ Richard G. Stearns
                                     UNITED STATES DISTRICT JUDGE




                                       15
